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                          IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

KENNETH SMITH,                                )
                                              )
             Plaintiff,                       )
                                              )
      v.                                      )     19 CV 7851
                                              )
THE VILLAGE OF MELROSE PARK,                  )     Hon. Thomas Durkin
A municipal corporation,                      )
OFFICER JOSEPH G. PANZANI, OFFICER CHANE      )     Hon. Susan Cox
FOGG and OFFICER WILLIAM BIANCHI,             )
Melrose Park Police Officers,                 )
                                              )
             Defendants.                      )


                              STIPULATION TO DISMISS

      It is hereby stipulated and agreed by and between the parties in the above-

entitled action, Plaintiff Kenneth Smith and Defendants Village of Melrose Park,

and Melrose Park Police Officers Joseph Panzani, Chane Fogg, and William

Bianchi, by and through their respective attorneys, that said action shall be

dismissed with prejudice as against all Defendants, with each party to bear his

respective costs and attorney fees and with all matters and controversies for which

said action was brought having been fully settled, compromised and adjourned as

between them.

ATTORNEY FOR PLAINTIFF                      ATTORNEY FOR DEFENDANTS

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Richard Dvorak                              K. Austin Zimmer
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